Case: 3:20-cv-00107-jdp Document #: 3 Filed: 02/19/20 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

AMY CHILDERS, BARRY EARLS,
THOMAS FETSCH, CODY ITALIA,
DAVID KIEL, NAZAR MANSOOR,
DEBBIE RIDER, TRENT SHORES, STEVE
SCHUSSLER, CASSIE LIETAERT, RYAN
INGALLS, CHRIS JESSE, and KAREN
FLECKENSTEIN, individually and on behalf
of a class of similarly situated individuals,
No. _20-CV-107
Plainuffs,

Vv.
MENARD, INC., a Delaware corporation, and
JOHN DOES 1-10,

 

Defendants.

 

 

WAIVER OF SERVICE OF SUMMONS FORM

 

TO: Attorney Eric J. Haag
Atterbury, Kammer & Haag, S.C.
8500 Greenway Blvd. Suite 103
Middleton, WI 53562

I have received your request to waive service of a summons in this action along with a copy of
the complaint, two copies of this waiver form, a Corporate Disclosure Statement, Order
Regarding Assignment of Cases, Notice of Assignment to a Magistrate Judge and
Consent/Request for Reassignment, Order on Dispositive Motions, and a prepaid means of
returning one signed copy of the waiver form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this
case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit,
the court’s jurisdiction, and the venue of the action, but that I waive any objections to the
absence of a summons or of service.

I also understand that I, or the entity I represent, must file and serve an answer or a motion under
Rule 12 within 60 days from February 12, 2020, the date when this request was sent. If I fail to
do so, a default judgment will be entered against me or the entity I represent.
Case: 3:20-cv-00107-jdp Document #: 3 Filed: 02/19/20 Page 2 of 2

Date: B@rt+B-BeV2cs

Re.

(Signature of the attorney or unrepresented party)

Wichwe | =e O Tne

(Printed name)

S'oO\ Meuurel Ee ea C4, we Lt / SY72° =
(Address) ‘

 

(E-mail address)

 

(Telephone number)
